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                  Case4:15-cv-02075-JSW
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 7   Attorneys for Defendant
     City and County of San Francisco
 8

 9

10                                 UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA

12    1049 MARKET STREET, LLC, a California           Case No. 4:15-CV-02075
      Limited Liability Company,
13                                                    STIPULATION EXTENDING TIME TO FILE
                Plaintiffs,                           RESPONSIVE PLEADING; ORDER
14                                                    GRANTING EXTENSION OF TIME
                vs.
15
      CITY AND COUNTY OF SAN                          Trial Date:           TBD
16    FRANCISCO, BOARD OF SUPERVISORS
      OF THE CITY AND COUNTY OF SAN
17    FRANCISCO, PLANNING DEPARTMENT
      OF THE CITY AND COUNTY OF SAN
18    FRANCISCO, SAN FRANCISCO
      DEPARTMENT OF BUILDING
19    INSPECTION, SAN FRANCISCO
      BUILDING INSPECTION COMMISSION,
20    SAN FRANCISCO BOARD OF APPEALS,
      and DOES 1-50,
21
                Defendants.
22

23

24
                                              STIPULATION
25
            WHEREAS, 1049 MARKET STREET, LLC served and filed its Complaint for Injunctive
26
     Relief and Damages for Violation of Civil Rights; Petition for Writ of Mandate (“Complaint”) on May
27
     8, 2015;
28
      STIPULATION AND ORDER                            1                        n:\land\li2015\151266\01020482.doc
      Case No.: CV-02075
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               Case4:15-cv-02075-JSW
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 1          WHEREAS, Defendant City & County of San Francisco (“San Francisco”) were assigned to

 2   handle the case some time thereafter and, due to conflicting caseloads, are unable to file a responsive

 3   pleading before June 12, 2015;

 4          WHEREAS, counsel for Plaintiffs agree to extend the time in which San Francisco may file an

 5   answer, motion to dismiss or other responsive pleading to accommodate the schedule of San

 6   Francisco’s counsel;

 7          NOW THEREFORE, the parties stipulate, subject to the Court’s approval, that San Francisco

 8   may file its answer, motion to dismiss or other responsive pleading on or before June 12, 2015.

 9          IT IS SO STIPULATED

10

11   Dated: June 3, 2015

12
            ZACKS & FREEMAN, P.C.
13          ANDREW M. ZACKS
14

15          By:     /s/ Andrew M. Zacks
16          ANDREW M. ZACKS
17          Counsel for Plaintiff 1049 MARKET STREET, LLC
18

19
20          DENNIS J. HERRERA
            City Attorney
21          KRISTEN A. JENSEN
            Deputy City Attorney
22

23
            By:   /s/ Kristen A. Jensen
24          KRISTEN A. JENSEN
            Counsel for Defendant City and County of San Francisco
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      STIPULATION AND ORDER                               2                          n:\land\li2015\151266\01020482.doc
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                                            [PROPOSED] ORDER
 1
            Pursuant to the foregoing stipulation of the parties, IT IS HEREBY ORDERED that San
 2
     Francisco shall have until June 12, 2015 to file an answer, motion to dismiss or other responsive
 3
     pleading to the Complaint shall be as follows:
 4
                 4 2015
     Dated: June __,
 5

 6

 7
                                                                 ______________________________
 8
                                                                 HON. JEFFREY S. WHITE
 9
                                                                 United States District Judge
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      STIPULATION AND ORDER                              3                          n:\land\li2015\151266\01020482.doc
      Case No.: CV-02075
